

Matter of Young (2023 NY Slip Op 04174)





Matter of Young


2023 NY Slip Op 04174


Decided on August 3, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 3, 2023

PM-162-23
[*1]In the Matter of Daniel Jonathan Young, an Attorney. (Attorney Registration No. 2531788.)

Calendar Date:July 31, 2023

Before:Garry, P.J., Egan Jr., Aarons, Pritzker and McShan, JJ.

Daniel Jonathan Young, Austin, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Daniel Jonathan Young was admitted to practice by this Court in 1993 and lists a business address in Austin, Texas with the Office of Court Administration. Young now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Young's application.
Upon reading Young's affidavit sworn to January 20, 2023 and filed April 26, 2023, and upon reading the July 21, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Young is eligible to resign for nondisciplinary reasons, we grant this application and accept his resignation.
Garry, P.J., Egan Jr., Aarons, Pritzker and McShan, JJ., concur.
ORDERED that Daniel Jonathan Young's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Daniel Jonathan Young's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Daniel Jonathan Young is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Young is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Daniel Jonathan Young shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








